                       Case 1:25-mj-00186-EA               Document 1          Filed 01/27/25         Page 1 of 1
  AO 91 (Rev. 11/11) Criminal Complaint


                                       UNITED STATES DISTRICT COURT                                                 ____ FILED___ ENTERED
                                                                  for the                                           ____ LOGGED_____ RECEIVED
                                                        DistrictDistrict
                                                   __________    of Maryland
                                                                         of __________                             4:02 pm, Jan 27 2025
                                                                                                                    ATBALTIMORE
                    United States of America                         )                                              CLERK, U.S. DISTRICT COURT
                               v.                                    )                                              DISTRICT OF MARYLAND

                         Dazhon Darien
                                                                     )      Case No. 25-mj-0186-EA                  BY______________Deputy
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of              December 2023 - June 2024         in the county of           Baltimore City             in the
                         District of           Maryland          , the defendant(s) violated:

              Code Section                                                     Offense Description
18 U.S.C. § 2251(a) and (e)                       Sexual Exploitation of Children
18 U.S.C. § 2252A(a)()                           Receipt of Child Pornography




           This criminal complaint is based on these facts:
   See attached affidavit




           ✔ Continued on the attached sheet.
           u


                                                                                                Complainant’s signature

                                                                                        Special Agent Grace Meyer, FBI
                                                                                                 Printed name and title

  Sworn to before me and signed in my presence.


  Date: January 27, 2025
                                                                                                   Judge’s signature

  City and state:                                                                    Hon. Erin Aslan, US Magistrate Judge
                                                                                                 Printed name and title
